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                                Dale Cole, Owner/Operator
                                        Cole Farm
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Clerk
United States District Court for the District of Vermont
NE Dairy Settlement Communication
Allen v. Dairy Farmers of America, Inc., No. 5:09-CV-230-CR
11 Elmwood A venue
Burlington, VT 05401



To the Court:
       I operate Cole Farm in Augusta, Maine, milking 100 head of dairy cattle and
shipping my milk to Oakhurst Dairy. I am an independent producer, not affiliated with or
belonging to any dairy marketing cooperative. I am also President of the Maine Dairy
Industry Association (MDIA), a dairy farm trade organization that represents all 274
dairy farmers producing milk in Maine.
       I am writing to express my opposition to the proposed settlement in Allen v.
Dairy Farmers of America, Inc., No. 5:09-CV-230-CR. As an individual dairy farmer
and the President ofMDIA, I believe that the settlement does not reflect the true market
conditions for milk in the Northeast. We oppose the settlement because it applies only to
dairy farmers who produce and ship milk within the geographic boundaries defined as the
marketing area of federal Milk Market Order 1, and thereby completely fails to account
for all the dairy farms located outside the marketing area who also provide milk for the
Order. The majority of the milk produced in Maine in shipped and processed through
plants or marketing entities that are subject to the Federal Order and have been negatively
impacted in the same way as those farms that are located within Federal Order One's
geographic description.
       If nothing else, a settlement intended to resolve such a major lawsuit for the
region's dairy industry that excludes thirty per-cent of the Order's milk supply simply
defies common sense and ought to be rejected for that reason alone. It is also impossible
to square such an "artificial" settlement with your intensive review of this very issue in
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the Court's June, 2014 Summary Judgment decision. For these reasons, we ask that you
now "reconsider" the settlement Class make-up, and reject any settlement that does not
account for the farms that supplied the excluded milk.
         Plaintiffs' lawyers 1 have insisted throughout the case that only those farmers
physically located within Order 1's geographic boundaries should be included in the case.
In your Summary Judgment Decision, last summer, you noted that "Plaintiffs' proposed
approach to market definition would exclude approximately 30% of the raw Grade A
milk pooled on Order One". (my emphasis)
       You further observed that this "approach to market definition" was without any
evidentiary support, and even contrary to the opinion of the lawyers' own expert:
       Plaintiffs have proffered no evidence that the relevant geographic market
       includes only class members-i.e., only dairy farmers located within Order 1's
       geographic boundaries. Plaintiffs' expert witness Dr. Rausser has
       specifically and repeatedly testified that Order One, as a relevant
       geographic market, does not require a dairy farmer supplier to be
       located within its geographic boundaries .... ("[A]t a minimum, my opinion
       is that the relevant market includes all of those producers and the pricing
       determination that they receive, that they capture in Order 1, the geographic
       boundaries. In addition, the surrounding areas in terms of the geographic
       scope of the relevant market are in that relevant market as well.") (my
       emphasis)

       My farm and the other Maine farms provide precise examples of how the expert
correctly identified that the market's definition must account for the supplying farms
located outside the Order's geographic territory along with those within its territory.
Being in Maine, my farm is outside the territory of the Order. Our milk goes to Oakhurst
Dairy, located in Portland, Maine, and therefor also located outside the geographic
territory ofthe Order. Yet because Oakhurst ships a large volume of packaged milk into
the Order's marketing area, the Order treats Oakhurst the same as plants located within
the Order's territory and makes it subject to all of the Order's pricing regulations. As the
expert indicated, these regulations in tum make the "pricing determination" for my milk
check the same as for producers located within the Order's territory and shipping milk to
Order One plants.

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  It is hard not to conclude that everything done is this case is being driven by the lawyers rather than the
farmers, since almost all the "Plaintiffs" in the case now oppose the settlement.
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        This pricing dynamic holds true also for those Maine farms that ship their milk to
plants located inside the Order's territory. Even though these farms are outside the
Order's territory, the Order's regulated "pricing determinations" for them is again the
same as for those producers located within the Order's territory and who ship their milk
to Order One plants.
      Maine's farmers obviously don't make up all of the thirty percent of the Order's
milk supply that Plaintiffs' market definition would exclude. Yet all the other farms that
provide this milk supply for Order One, whether in Pennsylvania or elsewhere, are
subject to the same Order One regulatory circumstances and "pricing determinations" as
us. So our experience, as here described, applies to all of that excluded milk.
      I will highlight one other part of your decision. By way of explanation, you
described why, tactically, the lawyers' came up with this market definition:
      By artificially limiting the definition of sellers to only dairy farmers located
      in Order One, Plaintiffs apparently seek to correspondingly limit the options
      available to sellers of milk to Order One processors. This inevitably will
      heighten the alleged adverse impact of the conspiracy, while ignoring a
      sizable percentage of the milk supply purportedly affected by it. (my
      emphasis).

      I highlight this language for two reasons. First, I wish to emphasize that you
correctly described their analysis as "artificial",or thus even worse than simply without
evidentiary support. Second, and most important, you make the critical point that this
definition serves to "ignore" the impact that the alleged conspiracy might have had on "a
sizeable percentage of the milk".
      Most appropriately, based on this varied analysis, you concluded that a market
definition that excludes 30% ofthe Order's milk supply is unworkable for the case, and
ruled that:
      Defendants' motion for summary judgment with regard to Plaintiffs' relevant
      geographic market is thus GRANTED IN PART and DENIED IN PART.
      Plaintiffs may present evidence to the jury in support of Order I as a relevant
      geographic market. They may not, however, present to the jury a market
      definition of Order 1 that requires a dairy farmer to be physically
      located within Order l's geographic boundaries in order to be considered
      a supplier of milk to that market. (my emphasis)
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      Against these findings and conclusions by the Court, it is incomprehensible to me
that the settlement could go forward without consideration of the excluded thirty percent
of the Order's milk supply, as you so aptly identified in your prior Order. I can certainly
understand why Plaintiffs' lawyers persist with their "artificial" definition ofthe Class,
for all the reasons you described. In view of your apparent understanding, back only in
June, of the incomprehensibleness of this approach, I simply cannot understand how you
might conclude that "redefinition of the class is not warranted at this point.", as stated in
your November Order allowing the Fairness Hearing to go forward.
      I would ask that you now reconsider your treatment of the excluded milk supply,
and reject any settlement agreement that does not properly account for the farmers who
provided that significant milk supply.


Respectfully submitted,




Dale Cole



cc:

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